     Case 1:18-cv-04997-JFK-SDA                        Document 88              Filed 01/05/21     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

GW HOLDINGS GROUP, LLC, a New York Limited                                           Case No. 18-cv-4997-JFK
Liability Company,
                                                                                     ORDER TO SHOW CAUSE
                                   Plaintiff,

          - against -

CRUZANI, INC., f/k/a US HIGHLAND, INC., a Nevada
Corporation,

                                    Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

        Upon the annexed Declaration of Noah Weinstein, dated January 4, 2021, upon the

annexed Declaration of Jeffrey Fleischmann, dated January 5, 2021, each submitted on behalf of

Plaintiff GW Holdings Group (“Plaintiff”), upon the Summons, Amended Complaint, Answer,

Memorandum of Law, and all prior filings and pleadings heretofore:

        LET Defendant Cruzani, Inc. f/k/a US Highland, Inc. show cause before Honorable John

F. Keenan in Courtroom _________, at the Courthouse located at 500 Pearl Street, New York,

New York 10007, on the ________ day of _________________, 2021, at __________________,

or as soon thereafter as counsel may be heard, as to why an Order should not be entered pursuant

to Rule 55(b)(2) of the Federal Rules of Civil Procedure and Local Civil Rule 55.2(b), granting a

default judgment in favor of Plaintiff GW Holdings Group, LLC, and against Defendant Cruzani,

Inc. f/k/a US Highland, Inc.

        ORDERED that answering papers, if any, must be filed with the Court and served on

Jeffrey Fleischmann, 150 Broadway, Suite 900, New York, New York 10038, on or before

___________________________, at __________________.

        ORDERED that reply papers, if any, must be served and filed by ___________________.
    Case 1:18-cv-04997-JFK-SDA            Document 88        Filed 01/05/21      Page 2 of 2




       ORDERED that service of this Order to Show Cause, together with the papers upon

which it is based, upon Defendant via overnight mail to the last known address of Plaintiff, and

that such service be deemed good and sufficient service.

       Plaintiff is to file proof of such service, along with the papers upon which this Order to

Show Cause is based, on the Court’s electronic filing system by ____________________.


                                                                     SO ORDERED

Dated: New York, New York
       _______________, 2021


                                                     ____________________________________
                                                     Hon. John F. Keenan
